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                    UNITED STATES COURT OF APPEALS
                                                                        FILED
                           FOR THE NINTH CIRCUIT
                                                                        JUN 10 2022
                                                                       MOLLY C. DWYER, CLERK
                                                                       U.S. COURT OF APPEALS




 JEREMY VAUGHN PINSON,                            No. 22-15687

               Plaintiff - Appellant,
                                                  D.C. No. 4:19-cv-00235-RM
   v.                                             U.S. District Court for Arizona,
                                                  Tucson
 UNITED STATES DEPARTMENT OF
 JUSTICE; et al.,                                 ORDER

               Defendants - Appellees.


        Appellant Jeremy Vaughn Pinson, prison identification number 16267-064,

has been granted leave to proceed in forma pauperis in this appeal and has

completed and filed the required authorization form directing the appropriate

prison officials to assess, collect, and forward to the district court the filing and

docketing fees for this appeal pursuant to 28 U.S.C. § 1915(b)(1) and (2). This

court hereby assesses an initial filing fee of 20 percent of the greater of (A) the

average monthly deposits to the prisoner's account; or (B) the average monthly

balance in the prisoner's account for the six-month period immediately preceding

the filing of the April 29, 2022 notice of appeal. Appellant is not responsible for
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payment when the funds in appellant's prison trust account total less than $10, but

payments must resume when additional deposits are made or funds are otherwise

available.

       The Clerk shall serve this order and appellant's completed authorization

form on the Correctional Facility for the State of Arizona, who shall notify the

appropriate agency or prison authority responsible for calculating, collecting, and

forwarding the initial payment assessed in this order and for assessing, collecting,

and forwarding the remaining monthly payments of the fee to the district court for

this appeal. See 28 U.S.C. § 1915(b)(2). Each payment should be accompanied by

the district court and appellate docket numbers for this appeal and a record of

previous payments made for this appeal.

       The Clerk shall also serve a copy of this order on the clerk and the financial

unit of the district court.

                                               FOR THE COURT:

                                               MOLLY C. DWYER
                                               CLERK OF COURT

                                               By: Cyntharee K. Powells
                                               Deputy Clerk
                                               Ninth Circuit Rule 27-7
